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         ATTACHMENT 18
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Lau, Albie

From:                         ECF-CAND@cand.uscourts.gov
Sent:                         Friday, December 13, 2013 4:55 PM
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Subject:                      Activity in Case 3:07-cv-05944-SC MDL No. 1917 In Re: Cathode Ray Tube (CRT)
                              Antitrust Litigation Order on Motion to Compel



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Case Name:           MDL No. 1917 In Re: Cathode Ray Tube (CRT) Antitrust Litigation
Case Number:         3:07-cv-05944-SC
Filer:
Document Number: 2265

Docket Text:
Order by Hon. Samuel Conti granting in part and denying in part [1735] Motion to
Compel.(sclc2, COURT STAFF) (Filed on 12/13/2013)


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fa9be37d71b62390c75bc5c702b31c9ef77cbddab76c2a6f01d85d9291809]]




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